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                       IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

THOMAS A. RODGERS,                                     CASE NO.:

       Plaintiff,

vs.

CITIBANK, N.A.,                                        DEMAND FOR JURY TRIAL

       Defendant.

                                               /


                                   VERIFIED COMPLAINT

       COMES NOW, Plaintiff, THOMAS A. RODGERS (hereafter “Plaintiff”), by and through

undersigned counsel, and hereby sues Defendant, CITIBANK, N.A., (hereafter “Defendant”), and

states as follows:

                                PRELIMINARY STATEMENT

       This action arises out of Defendant’s violations of the Florida Consumer Collection

Practices Act, Florida Statute §§ 559.55 et seq. (hereafter the “FCCPA”) and the Telephone

Consumer Protection Act, 47 U.S.C. §§ 227 et seq. (hereafter the “TCPA”).

                                 JURISDICTION AND VENUE

       1.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA

and/or by F.S. § 47.011 and/or by 28 U.S.C § 1332, diversity jurisdiction.

       2.      Subject matter jurisdiction, federal question jurisdiction, for purposes of this action,

is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts shall have




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original jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the United

States; this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii).

        3.      Pursuant to 28 U.S.C. § 1391(b), venue is proper in this District because the

Plaintiff resides in this District, the phone calls were received in this District, and Defendant

transacts business in this District.

                                    FACTUAL ALLEGATIONS

        4.      Plaintiff is an individual residing in Pinellas County, Florida.

        5.      Plaintiff is a consumer as defined by the FCCPA, Fla. Stat. § 559.55(2).

        6.      Defendant is a banking corporation organized under federal law with its principal

place of business located in New York.

        7.      Defendant is a “creditor,” as defined by the FCCPA, Fla. Stat. § 559.55(5) and does

business throughout the state of Florida, including Pinellas County, Florida

        8.      Defendant is a “person” subject to regulations under Fla. Stat. § 559.72 and 47

U.S.C. § 227(b)(1).

        9.      The conduct of Defendant, which gives rise to the cause of action herein alleged,

occurred in this District, Pinellas County, Florida, by the Defendant’s placing of telephone calls to

Plaintiff cellular telephone in an attempt to collect a debt.

        10.     Defendant, at all material times, was attempting to collect a debt relating to a

Citibank, N.A. Mastercard, Account No. ending in – 3275.

        11.     The alleged debt that is the subject matter of this complaint is a “consumer debt”

as defined by the FCCPA, Fla. Stat. §559.556.




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       12.     Plaintiff revoked any prior express consent to contact Plaintiff via cell phone or any

other form of communication in July, 2014, when Plaintiff verbally advised Defendant to stop

calling his cellular telephone.

       13.     All calls to Plaintiff’s cell phone were made after Plaintiff revoked any “alleged”

consent and without the “prior express consent” of Plaintiff.

       14.     Plaintiff is the regular user and carrier of the cellular telephone number ending

in -6331 and was the called party and recipient of Defendant’s automatic telephone dialing system

and/or artificial or prerecorded voice.

       15.     Defendant knowingly and/or willfully called Plaintiff’s cellular telephone after

Defendant had unequivocal notice from Plaintiff to cease any and all calls and after Plaintiff

withdrew any prior consent or permission to be contacted.

       16.     Defendant knowingly and/or willfully harassed and abused Plaintiff by calling

Plaintiff’s cellular telephone up to three (3) times per day after Defendant revoked any alleged

consent for Defendant to contact Plaintiff’s cellular telephone.

       17.     Defendant used an automatic telephone dialing system or an artificial or pre-

recorded voice to place telephone calls to Plaintiff’s cellular telephone.

       18.     The following phone numbers, including, but not limited to, 877-362-0172 and

816-420-4635, are phone numbers Defendant used to call Plaintiff’s cellular telephone.

       19.     Defendant has, or should be in possession and/or control of call logs, account notes,

autodialer reports and/or other records that detail the exact number of all calls made to Plaintiff.

       20.     Defendant placed calls to Plaintiff’s cellular telephone that included delays in time

before the telephone call was transferred to a representative to speak.




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       21.     Plaintiff did not speak with a representative during some of the phone calls placed

by Defendant because there was no representative on the telephone call that spoke or attempted to

communicate with Plaintiff after Plaintiff answered the telephone call.

       22.     Some of the representatives who called Plaintiff’s cellular telephone sounded like

an artificial or pre-recorded voice.

       23.     Plaintiff did not speak with a live representative during some of the phone calls

because they were all made by Defendant using an artificial or pre-recorded voice.

       24.     The calls from Defendant to Plaintiff’s cellular telephone continued despite

Plaintiff expressly revoking his consent.

       25.     None of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

       26.     None of Defendant’s telephone calls placed to Plaintiff were made with Plaintiff’s

“prior express consent” as specified in 47 U.S.C. § 227(b)(1)(A).

       27.     All conditions precedent to the filing of this lawsuit have been performed or have

occurred.

                                    COUNT I
                   VIOLATION OF THE FCCPA, FLA. STAT. § 559.72(7)

       28.     Plaintiff incorporates all allegations in paragraphs 1-27 as if stated fully herein.

       29.     Jurisdiction is proper pursuant to Florida Statute § 559.77(1).

       30.     Defendant violated Florida Statute § 559.72(7) when it willfully communicated

with Plaintiff with such frequency as can reasonably be expected to abuse or harass Plaintiff.

       31.     Specifically, Defendant continued to make numerous telephone calls to Plaintiff’s

cellular telephone after being notified to no longer call Plaintiff through any means.




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       WHEREFORE, Plaintiff, THOMAS A. RODGERS, demands judgment against

Defendant, CITIBANK, N.A., for the following relief:

               a.       any actual damages sustained by Plaintiff as a result of the above

allegations;

               b.       statutory damages pursuant to Florida Statute § 559.77(2) in the amount of

$1,000.00;

               c.       pursuant to §559.77(2), any specific or injunctive relief necessary to make

Plaintiff whole;

               d.       in the case of a successful action sustaining the liability of Defendant,

pursuant to the FCCPA, Fla. Stat. § 559.77(2), costs of the action, together with reasonable

attorney’s fees incurred by Plaintiff; and

               e.       any other relief the Court deems just and proper.

                                     COUNT II
                    VIOLATION OF THE TCPA, 47 U.S.C. § 227(b)(1)(A)(iii)

       32.     Plaintiff incorporates all allegations in paragraphs 1-27 as if stated fully herein.

       33.     Jurisdiction is proper pursuant to 47 U.S.C. § 227(b)(3).

       34.     Defendant used an automatic telephone dialing system or an artificial or

prerecorded voice as defined by 47 U.S.C. § 227(a)(1)(A)(iii) to make telephone calls to Plaintiff’s

cellular telephone.

       35.     Defendant independently violated 47 U.S.C. § 227(b)(1)(A)(iii) for each call that

Defendant placed to Plaintiff’s cellular telephone using an automatic telephone dialing system or

an artificial or prerecorded voice.

       36.     The phone calls made by Defendant are considered willing and knowing violations

of the TCPA, as Defendant is well aware of the TCPA and its prohibitions.

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    July 25, 2017
